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                                              Exhibit A




                          IN THE"UNITED STATES DISTRICT Cff(JR'l'·                 -�com:r-�.--···
                          FOR THE NORTHERN DISTRICT OJ                      � Dl�TRlcrO[''l'FJ<:AS
                                                                            ·�oRTIW-RNFllJ3'D
                                                                            .         ·



                                  · DALLAS DIVISION
                                                                                ·;.



  SECURITIES AND EXCHANGE COMMISSION

                                     Plaintiff,

              v.

 W. NEIL "DOC" GA LLAGHER,                                       FILED UNDER SEAL
 GALLAGHER FINANCIAL GROUP, INC., and
 W. NEIL G4\LLAGHER, Ph.D. AGENCY, INC.

                                    Defendants.



                                ORDER APPOINTING RECEIVER
                                                                       -�                          ,.I


                                          �
         WHEREAS this matter has co e before this' Court upon motion of Plaintiff Secur ties   l
 and Exchange Commissiqn ("SEC" or "Plaintiff1) to appoint a receiver in the ab'ove-captioned


action; and,

        WHEREAS the Court fi°nds that, based on the record in these
                                                               . proceedings, the
          .                                   .
appointment of a receiver .in this action is necessary and appropriate for the purposes of .


marshaling and preserving all assets, tangible and intangible, that are owned, controlled, or

possessed by Defendants W. Neil «Doc" Gallagher, Gallagher F�ancial Group, Inc., W. Neil

G�lagher, Ph.D. Agency, Inc. ("Receivership As.sets")i and,

        WHEREAS this Court has subject matte:i; jurisdiction over this action and personal

                                                                      !
jurisdiction over the Defendants, and 'venue' properly lfos in this d strict.

    .   NOW· THEREFORE, IT IS HEREBY ORDERED, ADJUDGED; AND DECRE ED

THAT:
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                   1.     This Court hereby tak�s exclusive jurisdiction and P,Ossession of the assets, of

         whatever kind and wherever situated, ofDefendants W. Neil "Doc,, Gallagher, Gallagher

        Financial Group, Inc., and W. Neil Gallag�er, Ph.D. Agency, Inc. (collectively, the
                                  .
                                                              .




        "Receivership Defendants,,).

                   2.   ·.Until further Order of this Court, Mr. Cort Thomas (8111 Preston Road, Suite

    ·   300, Dallas, Texas 75225; Phone: 214.327.5000) is hereby appointed to·serve without bond as

        receiver (the ''Receiver") for the estates of the Receivership Defendants.

                                                    I. Asset Free.ze

               3,        Except as otherwise specified herein, all Receivership Assets �e :frpzen until

        furtbetorder of this Court. Accordingly, all personB and entities with direct or inclirect �ontrol
             .                         . ./
                                                .                      . ../                    ,./




        over any Receivership Assets, other than the Receiver, are hereby restrained and enjoined from

    directly or indirectly transferring, setting off, receiving, changing, selling, pledging, assigning,

    liquidating or.otherwise disposing of or withdrawing such assets. All persons or entities with

    direct or indirect control ove1: any Receivership Assets are ordered to relinquish such control to

r   the Receiver; This freeze shall include, but not be limited to, Receivership Assets that are on

    deposit with or stored at or in financial (or other) institutions such as bfiliks, brokerage fnms,

    mutual funds, life insUl'ance companies, annuity companies, inv�sment companies and any. other

    financial serviceHelated films.

                                      II. General Powers and Duties of Receiver

              4.        The R�ceiv�r shall have all powers, authorities, rights, and privileges heretofore

possessed PY. the officers, directors, managers, and general and limited partners of the

Receivership Defendants under applicable state and federal law, by the goverillng charters, by-




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  . laws, articles and/or aITTeements in addition to all powers and authority of a receiver at e quity,

  and all powe1:s confer.red upon a receiver by th<? provisions of 28 U.S.C.      §§ 754, 959� and 1692,

  and FED. R. CIV. P.   66..

          5.      The trustees, directors,
                                      ,I
                                           officers, managers, employees, investment advisors,
                                                  '
                                                     .
                                      •
                                                                                                   .
                        .




  account �ts, attorneys, and other agents of the Receivership Defendants are hereby dismissed

  and the powers of any general partners, directors, and/or managers are hereby suspe�ded.. Such
                                                       .                      .




  persons and entities shall have no authority with respect to the Receivership Defendants'

  operations or assets, except to the extent as may hereafter be expressly granted by the Receiver.        ·




 The Receiver shall assume and control the operation of the Receivership D.efendants'and shall

.. pursue and preserve all 9,ftheir claims.
                                                              ....
                                                                                                               .-·




         6.      No person holding or claiming any position of any sort with any of the

 Receivership Defendants shall possess any authority to act by or on behalf of any of the                                 I
 Receivers11ip Defendants.                                                                                                I
         7.      Subject to the specific provi�ions in'Sections III through XIV, below, the                              II
                                                                                                                         I
 Receiver shall have the following general powers and duties:

                 A.         To dismiss all agents,'repres�ntatives, and employees of the Receivership
                                                                     ·
                                                                                                                         i
                            Defel!-dants;  ·   ·




                B.          To use reasonable·efforts to determme the nature, locati01:i,·and value of all
                            assets of the Receivership Defendants, including, but not limited to,                    \
                             monies, funds, securities, credits, effects, goods, chattels, lands, premises,          ,j
                            leases1 claims, rights, and other assets, together with all rents, profits,              i
                            dividends, interest or other income attributable theret0, of whatever kind,
                            which the Receivership Defendants own, possess, have a beneficial                        I
                                                                                                                     I
                            interest in, or control directly or indfrectly ("Receivership Property" or,              I

                                                                                                                     i
                                                                                               ·


                            collectively, the "Receiv()rship Estates'>);

                c.      To take custody, control, and possession.of all Receivership Property and
                        all books, records, and accounts relevant thereto, until further Order of this               j
                                           ·   Page'J of 20
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                                      '   I




                         ·Court, arid to sue for and collect, recover, receive and take into po.ssession
                          fr01µ third patties all Receivership Property and records relevant thereto;

                  D.     · Tq manage, control, operate, and maintain the Receivership Estates and
                         . hold in.his poss�ssion, custody and control all Receivership Proper ,tY
                           pending furU1er Order of this Court; '     ··

                  E.     To use Receivership Property for the b'enefit of the Receivership Estates,
                         making payments and disbursements and incurring expenses          as
                                                                                           may be
                         necessaty or advisable in the ordinary .course of business in discharging
                         his .duties as Receiver;

                  F.     To take any action that, prior to the entry of this Order, could have been
                         taken by the officers, directors, partners, managers, trustees and agents of
                         the R�ceivership Defendants;

                  G.     To engage and employ persons in his discretion to assist him ill carrying
                         out his duties and responsibilities h.ereunder, including, but not limited to,
                         accountants, attorneys, securities traders, registered representatives,
..•

                         financial or busine�� advisers, liquidating agyftts, real estate agents,  /
                         forensic experts, brokers, traders or auetioneers, and other professionals or
                       . consultants; ·
                                                                                       I

                 H.     To take such action   as
                                               necessary and appropriate for the preservation of
                        Receivership Property or to prevent the dissipation or conc�alment of




                                                                                                               II
                        Receivership Property;

                 I.     To issue subpo�nas for documents and testimony CO!Jflistent with the
                        Federal Rules of Civil. Procedure;

                 J.     To bring such legal actions based on law or equity in any state, federal, or
                        foreign comt' as the Receiver deems necessary or appropriate in                        l


                        discharging his duties as Receiver;
                                                                                                           i
                                                                                                           !

                                                                                                           I
                K.      To pursue, resist, and defend all suits, actions, <?laims and demands whfoh
                        may now be pending oi· which may be brought by or asserted against the.
                                                            ·

                        Receivership Estates; anq,

                L.     To take such other action   as may be approved by this Court.
                                                                                                           i
                                    ill. Access to Information
                                                                                                           I
          8,    The individual Receivership Defendant and the past . and/or present officers,
                                                                                                           I
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                     g
     directors,_a ents, managers, general and l�tnited partners, trustees, attorneys, accountants and

     employees of the entity Receivership
                               .
                                          D�fendants, as well as those acting in their place, are
           .



     hereby ordered and. directed
                          .
                                  to preserve and tum over to the Receiver forthwith all paper and

     electronicfoformation of, and/ot relating to, the Receivership Defendants and/or all Receivership

     Prope1ty; s uch info1mation shall include qut not be limited to books, records, documents,

    .accounts, account passwords, encryption pas'swords, computer passwords, device PINs and

     passwords,. and all other instruments, data, and papers.

               9.        Within seven (7) days of the entry of this Order, the Receivership Defendants

     shall file with the Court and serve upon the Receiver and the SEC a sworn statement, listing: .(a)


"
    the identity, location, and es-lmated value of all Receivership Property; (b) all employees,(and        ••
                               ,J                          .J       �
                                                                                       ·"'   •




    job 1itles thereof), other personnel, attorneys, �ccountants and any other agents or �ontractors of

    the Receivership Defendants; and, (c) the names, addresses and amounts of claims of all known

    creaitors of the Receivership ;Defendants.

               10.       Within thirty (30)-days of the entry of this Order, the Receivership Defendants

    shall file with the Court and serve upon the Receiver and the SEC a sworn statement and

    accounting, with complete documentation, covering t!ie period from January 1, 2014 t? the

    present:

                         A.     Of all Receivership Property,' wherever located, held by or in the name of
                                the Receivership Defendants, or in which any of them, directly or
                                inclirectly, has or had any beneficial interest, or over which any gf them
                                maintained or maintains and/m exercised or exercises control, including,
                                but not limited to: (a) all securiti.es, investments, funds, currencies, real
                                estate, automobil�s,jewelry and other assets, stating the iocation of each;
                                and (b) any and all aycoimts, including all funds held ih such accoimts,         ·



                                with any bank, brokerage, or :financial (or ot11:er) institution held by, in the
                               'name of, or for the benefit of any of them, directly or indirectly, or over
                                which any of them maintained or maintai.ns and/or exercised or exercises



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                                                  .·




                         any direct or indirect control, or in w�ich any of them had 0r has a direct
                         or indirect beneficial interest, including the account statements from each
                         bank, brokerage, or financial (or other) institution;

                . B.      Identifying every account at ever} b�nk, brokerage, or financial
                         'institution, depository (or other) institution: (a) over which Receivership
                         Defendants have's.igna�ory authority; and (b) opened by, in the name of, or
                         for the benefit of, or used by, the Receivership Defendants;

                  C,     Identifylng all credit, bank� charge, debit or other deferred payment card
                         issued to or used by each Receivership Defendant, inclucijng but not
                         limited to the issuing institution, the card or account number(s), all
                         persons or entities to which a card was issued and/or with authority to use
                         a card, the balance of each account arid/or card as of the most recent
                         billing statemelit, and all statements for the last twelve months;

                 D.      Of all assets received by any of themfrom any person or entity, including
                         the value, location, and disposition of any assets so received;

              ., E      Of all funds received by the Receivership Defendants, and each of iliem,
                   .
                        in any way related, directly or indirectly., to the conduct alleged in the
                        SEC's Complaint. The submission must clearly identify, among other
                        things, all llivestors, the investments they purchased, the date and amount
                        of their investments, and the current location of such ftmds;

                 G,     Of all expenditures exceeding $1,000 made by any of them, including
                        those mfjde on the:iJ:. behalf by any person or entity; and

                H.      Of all transfers of assets made by any· of them.

        11,     Within thirty (30) days of the entry of tbis O�der, the Receivership Defendaµts

shall provide to the Receiver and the SEC copies of the Rec'eiversbip Defendants' federal income

tax returns for 2014 tbrougli 2017� and if available 2018, whether in draft or final fonn, with all

relevant and necessary tmderlying docun;ientation,

        12.    The Receivership Defendants' past and/or present officers, dir�ctors, agents,

attorneys, managers,'shareholders, employees, accountants, debtors, creditors, managers and

general and limited partners, an.d other appropriate persons or ent�ties shall answer under oath to         I
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  the Receiver all questibns which the Receiver may put to them and produce all docUm.ents as
                                                               .                 .           .




  required by the Receiver regarding the business of the Receivership Defendants, or any other
                          .        .


  matter relevant to the operation or administration of the !eceivership-or the collection of funds

  due to the Receivership Defendants. In the event that the Receiver deems it necessary to require .

                              �                                     �
  the appearance of the af rementioned persons or entities, the Rec iver shall make its discovery

  requests in accordance with the Federal Rules of CiVril Procedure,

         13.     The Receivership Defendants are required to assist.the Receiver in fulfilling his

 duties and obligations. As such, they must respond promptly and truthfully to all requests for

 in.formation and documentl?_ from the Receiver,

                              IV. Access to Books
                                            ..   , Rocords, and Accounts
                                                                   ?
                ,(




         14.    The Receiver is authorized to take immediate possession of all assets, ballk

 accounts or other financial accounts, books, records, and all other documents or instmments

 �elating to the Receivership Defendants. All persons and �ntities havfug control, custody, or

 possession of any Receivership Property are hereby directed to tum such property over to the

Receiver, on his request.

        15.     The Receivership· Defendants, as well as their agents, servants, employees,
                                       .               '


attomeys, any _persons acting fo1· or on behalf of the Receivership Defendants, and any persons

receiving notice of this Order by personal service, facsimile transmission or otherwise, having.

possession of the prop�1·ty, business, .booJ,<s, records, accounts, account passwords, encryption   ·




                      p
passwords, computer asswords, device PINs and passwords, and all other instruments, data,


paper� or assets of the- Receivership Defendants are hereby directed to deliver the same to the

                                                                                     L
Receiv,er, his agents and/or employees,
                                                                                         •




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                 16.   ·         All banks, �rpkerage firms, finan6lal (or other) institutions, and other persons or

         entities wbichhave possession, custody or control of any �ssets or funds held by, in the name of,

         or for the benefit of, directly or indirectly, any of the ReceiversJtip Defendants that-receive actual

         notice of this 9rder by personal service, facsimile transmission, or otherwise s�all:

                                A.       .   Not liquidate, transfer, sell; or otherwise convey any assets,. securities,
                                             funds, or accounts in the name of or for the benefit of the Receivership
                                             Defendants except upon instructions from the Receiver;

                                B.           Not exercise any form of set�off, alleged set�off, lien, or any form of self�
                                             help whEitsoeyer,.or rcfu�e to transfer any funds or assets to the Receiver'�
                                             contro� without the pem1ission of this Court';
                                     "
                                C.           Witli:in five (5) business days of r�ceipt of that notice, file with the Coui·t
                                             and serve on the Recehi:er and counsel for the SEC a certified statement
                                             setting forth, with respect to each such account or other asset, the balance
                                             in the acc�m1t or descdption of the· (\ssets as of the close of b1fsincss on the
                                             date of receipt of the notice; and

                                D.           Cooperate expeditiously in providing information and transferring funds,
                                             assets and accounts to the Receiver or at the direction of the Receiver.

                                                 V. Access to Real a�Hl Per�o1rnl Proper�

               17,             T4e Receiver is authorized to take immediate possession of all personal property

        o"f the Receivership Defendants, wherever located, including but noflimited to electronically

        stored information, computers, laptops, hard drives, external storage drives, and any other such

    memory, media or electronic storage devices, books, papers, data processing records, evidence of
    '
                                                                                                         •   I




    indebtedness,.bank records and accounts, savings records and accounts, brokerage records and

    �ccounts, certificates of deposit, stocks, b0ndG; de�entures, and other securiwes and investments,
                           .                     .




�   contracts; mortgages, furniture, office �upplies and equipment.

               18,             The Receiver is authorized to take immediate possession of all real property of the

    Receivership Defendants, wherever located, including but not limited to all ownership and


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          leasehold interests and fixtures. Upon receiving actual notice of.thiS Order by per$onal service,

          facsimile transmission or otherwise,' all persons other than law enforcement officials acting
                                                                                                  .
                                                                                                          .


          within the course and scope of their official duties, are (without the express written permlssion of

          the Receiver) prohibited from: (a) �ntering such premises; (b) removing an     ytbfog from such
                                                                                                                         !
          premises; or, (c) destroying, concealing or erasing anytbing on such premises,
                                                                                                                         l
               · 19,      In order to ·execute the express and implied terms of this Order, the Receiver is

          authorized to change door locks to the premises described above. The Receiver shall have
                                                                                                                         I
                                                                                                                         t
          exclusive control of the keys.· The Receivership Defendants, or any other person acting or                     I
                                                                                                                         I
                                                                                                                         I
         purporting to act on their behalf, are ordered !tot to change the lqcks in any manner, nor to have

r   •
        .. d,uplicate keys made, noi:. shall they have keys in their
           .
                                                                /
                                                                     possessipn during the term of the


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                                   .....
                                                                                         ••. �




         receivership.

                 20.      The Receiver is authorized to open all mail directed to ·or received by or at the

         offices or post office boxes of the Receivership Defendants, and to inspect all mail opened prior

         to �e entry of this Order, to determine whether items or information therein fall within the
                                       ·

         mandates of this Order.

                21.      Upon the request of the Receiver, ·the United States Marshal Service, in any

        judicial 9Jsk'ict, is hereby ordered to assist the Receiver in yarrying out his dutiets to take

        possession, custody, and control of, or ide�tify the location of, any assets, records or other
                                                                                                                     l
                                                                                                                     i

                                                                                                                     I
        materials belonging to the Receivership Estate,



                                                                                                                 I
                                            VI. Notice to Third Parties

                22.      The Receiver shall promptly give notice of his appointment to all known offic�rs,
                                                        ,•



        directors, agents, employees, shareholders, credito.ts, debtors, managers and general and limited
                                                                                                                 l

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       partners ofthe Receiversh_i p.Defendants, as the� eceiver deems necessary or advisableto

       effe�tuate . theqperation of the receivership.

              23.      All persons and entities owing any obligation, debt, or distribution with respectto

      an   ownershipinterestfo any ReceivershipDef� ndant shall, untilfurther ordered bythisCourt,
                                                                                           .
       pay all suchobligationsin accordance with the terms thereof to the Recei:ver and its receipt for

       such paymynts shall have the sameforce and e� ectas if theRec�ivershipDefendant had
                                                                 .

       received such payment.

              24. .   In furtherance ofbis responsibilitiesin this matter, the Re�eiver is authorized to

      communicate with, and/or serve thisOrder upon, any person, entity or government.office that he
                                                                                                                  l
.•
      deems appropriate1n info1m them of the status of thismatter and/or thefinancial condition of the
                      .�                            ."'                    . ·'
      Receivership Estates. All government,offices that maintain public files of security interestsin
                                                                                                        . .....
                                                                                                                  I
                                                                                                                  �
                                                                                                                  I
      real and per�onal property shall, consistent with such office's applicable procedures, record this

     Order upon the request of the Receiver or theSEC,
                                                                                                                  !
                                                                                                                  !

             25.      The Receiver is authorized to instruct theUnitedStatesPostmaster to holdand/or

      reroute mail which is related, directly or indirectly, to the.business, operations or activities ofany

      of the ReceivershipDefendants (the".Receiver'sMai'1 1), including all mail addressed to, orfor

     the benefit of, the ReceivershipDefendants. ThePostmaster shal� not complywith, and shalJ

     immediately report to the Receive�\ any change of addres� or0ther inslnlction given by anyone

     other than the Receiver concerningthe Receiver'sMail. The ReceivershipDe.fondants shall not

     open any of the Re.ceiver'sMail and shall immediatelytum over such mail, regardless ofwhen
                                                                                              '
                                                I                   I                               '




     received, to the Receiver, All personal mail of the individual ReceivershipDefendant, and/or

     any mail appearing to contain privileged information, and/or any mail notfalling within the




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  mM;date of the Recelver, shall be released to the named addressee by the Receiver. The
                       .

 foregoing instruc1i.ons shall apply to any proprietor, whether individual or entity, of any private

 mailbox, depository, business or service, or mail courier or delivery servlce, hired, i·ented, or
         .
         .


 used by the Receivership Defendants, Th� Receivership Defendants shall not open a new

 mailbox, or talce any steps or make any. arrangements to receive mail in contravention of this


 Order, whether through the U.S. mail, a private mail depository or courier service.

         26.      Subject to payment for services provided, any entity furnishing water, electric,

 telephone, sewag�, garbage or trash removal servict:;s to.the Receivership Defendants shall

 maintain such service and transfer any such aocounts to the Receivei· unless instructed t� the

 contrruy, by the Receiver.
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                       VII.   fui!!Bctio.u AJ?;aiust Interference with Receiver

        27.      The Receivership Defendants and all p·ersons receiving notice of this Order by

personal service, facsimile, en:ail, or otherwise, are hereby restrained 'and enjoined from directly

or indirectly taldng any action or causi�g any action to be talcen, without the express written
                                                        .                                                   '
agreement of the Receiver, which would:
                                                                                                            I
                A.      Interfere with. the Receiver's efforts to take control, possession, or             I
                        management of any Receivership Property; such prohibited actions
                        include but are liot limited to, usiRg self-help or executing or issuing or
                                                                                                           l
                                                                                                           r,
                        causing the execution or issuance of any court attacbmel}.t, subpoena,             �
                        replevin, execution, or other process for the purpose of impounding or
                        taldng possession of or interfering with or creating or enforcing a lien
                        upon any Receivership Property;

               . B.              b
                       Hinder, o struct or otherwise interfere with th� Receiyer in the
                       perfonnance of his duties; such p1'oliibited actions include but are not        l
                       limited to, concealing, destroying or altering records or inf¢rmation;          i
                       Dissipate or otherwise diminish th� value of any Receivership Property;
                                                                                                       I
                                                                                                       I
                c.
                       such prohibited actions include but are not limited to, releasing claims or

                                                                                                       i

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                            disposing) transferring, exchanging, assigning orin any way conveying
                            any Receivership Property, enforcing judgments, assessments or claims.
                            against any ReceivershipProperty or any ReceivershipDefendant,
                            attempting to modify, cancel, terminate, call, extinguish, revoke or
                            accelerate(the due date), ofany leas·e, loan, mortgage, indebtedness,
                            security agreement or other agreement executeq by any Receivership.
                            Defendant or which otherwiseaffects any ReceivershipProperty; or,

                 D,         Interfere with.or harass the Receiver, or interfere in any manner with the
                            exclusive jurisdiction of this .Court over the Receivership Estates.

         28..    The ReceivershipDefendants shall cooperate withand assist the Receiverin the                I
                                                                                                             '




  perfonnance of his duties.
                                                                                                             I
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                                                                                                         I
        29,     . The Receiver shall promptly notify the Court andSEC counsel of anyfailure or

 .apparent failure· of any person or entity to comply in any way with the tenns ofthisOrder,




        30,      AB setforth in detail below, thefollowing proceedings, excluding the instant

 proceeding and all police or regulatory actions andactions of theSEC related to the above-

 captioned enforcement action, are stayeduntilftuiher Order ofthis Court;
                                                                                                         I
       All civil legal proceedings of any nature, including, but not limited to, ban:Hruptcy
       proceedip.gs, arbln:ation proceedings, foreclosure. actions, default proceedings, or other        I
                                                                                                         I
       actions of any nature involving: (a) the Receiver,inhis capacity as Receiver; (b) any
       Receivership�roperty, wherever located; (c) any of th.e Rec�ivershipDefendants,. .
       including·subsidiariesmid partnerships; or,·c d) any o�the ReceivershipDefendants'
       officers, directors, managers, agents, or generaleir i
                                                            l mited partners suedfor, orin
       connection with, any action taken by them while actingin suo.h capacity (such
       proceedings are hereinafter referred toas "AncillaryProceedings"),
                                             .
                        '




       31. ·    Thepar.ties to any and allAncillaryProceedings are enjoined:frorp. commencing
                    .
                                                                                     .


or continuing any such legal proceeding;·or:frqm talcing any action, in connection. with.any such
                                                                   .   .                    .
                                                                              .




proceeding, including, but not limited to, the issuance or employment of process.

      32.       AllAncillaryProceedjngs. are stayedin their entirety, and allCourtshaving any




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  juri�diption thereofare enj �ined from taldng or pennitting any acti?n unttl further Order �fthis

  Court: Further, as to a cause ofaction accrued or accruing in favor ofone or more ofthe

  Receivership Defendants against a third person or party, any applicable statute oflimitations is
                     .                                                     .




  to1led dudng the period in which this' injunction against cpmmencement oflegal proceedings is

  in effect as to that cause ofaction,

                                          � Mmrnr!ing Assets

         33,     For each �fthe Receivership Estates, the Receiver sha V establish one or more
                                                                                    r


 custodial accounts at a federally insured bank to receive and hold all cash equivalent

 Receivership Property (the "Receivership Funds").

         3 4,    The Receiver's deposit account shall be entitled "Receiver's Account, Estate of W,
                         .-·
                                                   ·"'                             ··"   ..               ...•
                     .                         '                               '




 Neil "Doc" Gallagher, G allagher Financial Group, Inc.; and William Neil Gallagher, Ph.D.

 Agency; Inc," together with the name ofthe action, .

        35.      The·Receiver may, withoutfmther Order ofthis Court, transfer, compromise, or

 otherwise dispose ofany Receivership Property, other tha� real estate, in the ordinary course of

business, on tenns and in the manner the Receiver deems most beneficial to the Receivership

Estate, and with due regal'd t? the re�ization ofthe true and proper value 6fsuch Receivership

Property.

        36.     Subject to ,Paragraph 37, immediately below, the Receiver is authorized to locf!.te,

list fo.r sale or lease, engage a broker for sale or lease, cause-the sale or lease, and take all
                 "



necessary and reasonable actions to cause the sale       01·   lease ofall real property in.the.Receivership

Estates, either at public or private sale, on tenns and inthe manner the Receiver deems most

beneficial to the Receivershlp Estate, and with due regard to the realization ofthe true and 'proper




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  value of such.real property.
                                                                                                                    '

            3 7.     Upon further Order of this Coirrt, pursuant to Stich procedures as may be required
  by this CoUl't and additional authority such as 28 U.s.C.       §§ 2001 and 2004, the Receiver �ill be

  authorized to sell, and tratisfer clear title to, all real p1:operty in the Receivership ):?.states.

           . 38.     The Receiver is authorized to take all actions to manage, maintain, and/or wind"

  down busjness operations of the Receivership Estates, includipg maldng legally required

 payments to creditors, employees, and agents of the Receivership Estates and communicating

 with vendors, investors, governmental and regulatory authorities, and others,           as appropriate.
            3 9,     The Receiver shall take all necessary steps to enable the Receivership Funds to

 obtain and maintain ·the status of a taxable "Settlement Fund, '1 withln the meaning of S ection
             ..
                                                                     .··"

 468B of the Internal Revenue Code and of the regulations.

                                   X.   investigate and Prosecute Claims

           40.     · The Receiver is authorized, empowered, and directed to investigate, prosecute,
       .                                                                                        .

 defend, intervene in, or otherwise participate in, compromise, and/or adjust actions in any state,

fede:ral, or foreign court or proceeding of any kind as may in his discretion, and in consultation

with SEC coun�el, be advisable or proper to recover and/or conserve Receivership Property,
                                                                                          .              .

           41.     ·Subject to bis obligation to expend receivership funds in a reasonable and cost"

effective mann,er, the Receiver is authorized, empowered and direc:ted to investigate the manner

in which th� financiai and business affairs of the Receivership Defe�dants were conducted and
                                                                                                                        I
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(after obtaining leave of this Court) to institute such actions and legal proceedings, f9r �e benefit
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and on behalf of the Receivership Estate, as the Receiver· deems necessary and a�propriate;                  t?-e
Receiver may seek, among other legal and equitable relief, the imposition of constmctive trusts,




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                                            '         .
    disgorgement of profits,
                       .
                             asset turnover, avoidance of fraudulent. transfers, rescissi�n and

    restitution, coJlection of debts, and such other relief from this Court as may be necessary �o

   enforce �bis Order, Where appropriate, the Receiver should provide prior notice to Counsel for

   the SEC before commencing investigations and/or ac:Uons,

            42.     The Receiver hereby holds, an\} is therefore empowered to waive, all privileges,

  including the attorney-client privilege, held by all ·entity Receivership Defendants,

           43.    , The receiver has a·continu.ing duty to ensure that there are no conflicts of interest

 betWeen the Receiver, bis Retained Personnel (as that term is defined below), and the

 Receivership Estate.

                                          XL Bankmpfoy Filing
 ..···'
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           44.     Tue Receiver may seek authorization of this Court to file voluntary petitions for

 relief µnder Title 11 of the United States Code (the <\Bankruptcy Code") for the Receivership

Defendants, If a Receivership Defendant is placed in banlcruptcy p�oceedings, the Receiver may
                                                                     .                   .

become, and may be empowered to operate each of the Receivership Estates as, a debtor in

possession. In such a situation, the Receiver shall have all of the powers and duties as provided a

4ebtor in possession under the Ban:lcrllptcy Cod� to .the exclusion of any othe1· person ·or entity.

Pursuant to Paragraph 4 above, the Receiver is vested with management authority for all entity

Receivership Defendants and may therefore file and man&ge a Chapter 1 1 petition,.

          45.     The provisions of Section VIIIabqve bar any person or entity, othe.c than thv

Receiver, from pl aping any of the Receivt?rship Defendants in banl«.'uptcy proceed'ings.

                                       XII. Liability of Receiver

          46.     Until further Order of this Court, the Receiver shall not be required to post bond



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  or give an undertaldng of any type in connection with bis fiduciary obligations in this matter.
                     ..                            .




          47.       Th� Receiver and his agents, acti?g within scope of such agency ("Retained

  Personnel") are entitled to rely on all outstanding rules·of law and Orders of this Comt and shall
                                                                                   .               .




  not be liable to anyone for their qwn.good faith compliance with any order, rule, law, judgment,

 or decree,     in no event shall the Receiver or Retained Personnel be liable t0 anyone for their
 good faith compliance with their duties �d responsibilities as Receiver or ·Retained Personnel.

         48.       This Court shall retainjurisdiction over any action filed against.the Receiver br

 Retained Personnel based upon acts or omissions committed in their representative capacities.
                                                                           .
         ..                                                                                            '
                                                        ,




                   In the event the Receiver decides to resign. the Receiver shall first give' written


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         49.

 notice tp the SEC's counsel of record and the Court of its intention, and the resignation shall not
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                                              :·'
                                                                         .·""                              .J


                             .
 be effective until the Court appoints a successor, The Receiver shall then follow such
                                                                                                                         j
 �
 i structions aS the Court may provide,

                                 XIII. Recommendations and Reports
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        50.        The Receiver is authorized, empowered, and directed to develop a plan for the

fair, .reasonable, and efficient recovery and liquidation of all remaining, recovered, and
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recoverable Receivership Property ,(the "Liquidation Plan").
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                                                                                                                     !
        5 1.      Within   thirty (30) days of the entry date oftbis Order, the Receiver shall file a               i
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status report with the Court. The status report will include a snmmary of receivership activities
                                                                                                                    !
to dat�. It will also include a proposed plan for administering the r�ceiversbip going forward, as                  j
well as a proposed deadline by which the Receiver will submit the Liquidation Plan. The
                                                                                                                j
                                                                                                                I
Receiver's fees-including all fees and costs for the Receiver and others retained to assist in the              ,1
administration and liquidation ofthe �eceivership estat�·-are capped at         $50,000 during the              i
                                                                                                                I
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 initial 30�day period of the receivership, FU!llier fee limitations, if !lllY, _will oe s�t py the Court

 after the Receiver submits the status report,

        52.        Within."thirty (30) days after the end of each calendar quart. er, the Receiver shall

                                                            �
 file and serve a full report and acco'unting of the Recei ershlp Estates (the "Quru.��rly Status

.Report,,), reflecting (to the best of the Receivel''s know�edge as of the period covered by the

 report) the existence, value, and location ofall Receivel'ship Property, and of the extent of




                                                                                                            Il
 liabilities, both those claimed to exist by others and th9se the Receiver believes to be legal

obligations of the Receivership 1Estates.




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        53,     The Quarterly Status Report shall contain the following:

                A         A summary of the operations of the Rt'.ceiver;
                                                                                                            '
                                        ....                           ·""                         ,J
                                                                   .                           .



                B.       The amount of cash and any other curl'ency on h�d, the amount' and
                         nature of accrued administrativ(( expen�es, and the amount of
                         unencumbered funds in the estate;

               C,        A schedule of all the Receiver's receipts and disbursements (attached as
                         Exhibit A to the Quarterly Status Report), with one column for the
                         quarterly period covered and a second column for the entire duration of
                         the ·receivership;

               D.        A description of all known Receivership Property, including approximate
                         or actual valuations, anticipated ·or proposed dispositions, and reasons for
                         reta:ining assets where no disposition is intended;

               E.        A desc�iption of liquidated and unli_quidated· claims held by the
                          Receivership Estate, including the need for forensic and/or investigatory
                          resources; approximate valuations of claims; and anticipated or proposed
                          methods of enforcing such claims (including likelihood of success in: (i)
                        ·.reducing the claims to judgment; and, (ii) collecting such judgments);

              F.        A list of all known creditors with their addresses and the amounts of their
                        claims;

              G.        The status of Creditor Claims Proceedings, after such proceedings have
                        been commence.d; and,



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                      H.     The Receiver's recommendations for a continuation o� discontinuation of
                             the receivership and the reasons for the recommendations. ·

           54.        On the request of the SEC, the Receiver shall provide the SEC with any

                                                        y
   documentation that the SEC dee:i;ns necessar to meet its' reporting requirements, that is

   m�dated by statute or Congress, or that is otherwise necessary to further the SEC1s mission.

                                      XIV.   Jrees, E:x:ponses1 ancl Accountings

          55.     Subject to Paragraphs 56- 62 immediately below, the Receiver need not obtain
                  .                                                 .
   Court approval prior to the disbursement of Receivership Funds for expenses in the ordinary

   course of the administration and operatio1:1 of the receivership. Further, prior Court approval is

  not required for payments of applicable federal, state, or local taxes.
    �                            �                              /                       /
                                                                                                         ,··'



          56.     Subject to P �ragraph 57 immediately�elow, the Receiver is authorized to solicit

  persons and entities ("Retained Personnel") to assist him in carrying· out the duties and
                                                    .                               .
  responsibilities described in this Order. The Receiver shall not engage any Retained Personnel
    .                                                                                   .
  without first obtaining an Order of the Court authorizing such engagement.

         57.     The Receiver and Retained Personnel are entitled to reasonable .compensation an?

  expense reimbursement from the Receivership Estates as described in the- "Billing Instructions

 for Receivers in Civil Actions Commenced by the U.S. Securities and Exchange Commission"

 (the "Billing Instructions") agre�d to by the Receiver. Such compensation shall require the prior

 approval of the Court.

         58.     Within forty-five (45) days after the end of each calendar quarter, t�e Receiver
                                 ..
 and Retained Personnel shall apply to the Court for compensation and expense reimbursement

· from the Receivership Estates (the "Quarterly Fee Applicati<;ms"). At-least thirty (30) daysprior to
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 filing each Quarterly Fee Application with the Court, the Receiver will serve upon counsel for the SEC
                     .
                              .




 a complete copy of the proposed Application, together with all exhibits and r�levant billing

 information in a format to be provided by SEC staff.

               59.       All Quarterly Fee Applications wil� be D:-terim and will be subject to cost benefit

 anq fjnal reviews a� the close of the receivership. A,.t the close of the receivership, the Receiver

 will file a.:final fee application, describing in detail the costs and benefits associated with all

 litigation ari.d other actions pursued by th� Receiver during the course of the receivership.

               60.       Quarterly F�e Applications may be subject to a holdback in the amount of 20% of

the a�ount of fees and expenses for each application filed with the Court. The total amounts

held back dBring the course of the receivership will be paid qut at th� discretion of the Court as
       .....                                 ....                        ....


part of the final fee application �ubmitted at the close of tlie receivership.

           61.           Each Quarterly Fee Application shall:

                         A.       Comply with the terms of the Billing Instructions agreed to by the
                                  Receiver; and)

                         B.       Contain representations (in addition to the Certificati on required by the
                                  Billi ng Instructions) that: (i) the fees
                                                                          . and expenses i ncl ud e d therein were
                                  incur.red in the best interests of the Receivership Estate; and, (ii) with the
                                  exception of the Billing Instructions, the Receiver has not.entered into any
                                  agreeme:q:t, written or oral, express or implie_d, with any person or entity
                                  concerning the a mount of compensation paid or to be paid from the
                                  Receivership Estate, or any sharing thereof.




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        62,    At the close of the Receivership, the Rec�iver shall si1bmii a Final Accounting, in

 a fmmat to be provided by SEC staff, as well as the Recei�er's final application for compensation

 and expense 1:eimbursement.




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       ITIS SO ORDERED, this ·--- day �f         ___[)j_Cj<kd_}-2019.·

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